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 6   Attorneys for Non-Party Target 1
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 8
 9                                UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11
         UNITED STATES OF AMERICA,                     Case No. 3:22-CR-426-JSC
12
                                    Plaintiff,         STIPULATION AND [PROPOSED]
13            vs.                                      ORDER SHORTENING TIME
14
         DAVID WAYNE DEPAPE,
15
                                    Defendant.
16
17
             Non-party Target 1 1 and defendant David Wayne DePape, by and through undersigned
18
     counsel, hereby stipulate and agree as follows:
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20           1.     Mr. DePape has served a trial subpoena on Target 1, and Target 1 has moved to

21   quash that subpoena.

22           2.     The pretrial conference in this matter is currently set for October 26, 2023, at 1

23   p.m. The parties respectfully request that the Court hear Target 1’s motion to quash at the
24   upcoming pretrial conference on October 26.
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26
27   1
      “Target 1” a moniker that the Government used in the Indictment. See Dkt. No. 3. The parties
28   have continued to use this moniker in their pretrial filings, and Target 1’s true name has
     otherwise been redacted from the parties’ prior filings in this matter. Dkt. Nos. 85, 97.
 1          3.      So that Target 1’s motion to quash may be heard at the October 26 pretrial
 2   conference, Mr. DePape has agreed to file his opposition to the motion to quash on or before
 3   October 25, 2023, and Target 1 has agreed not to file a reply.
 4
 5
 6   Dated: October 23, 2023                              Respectfully submitted,
 7                                                             /s/                 ..
                                                          Edward Swanson
 8                                                        Carly Bitman
                                                          SWANSON & McNAMARA LLP
 9                                                        Attorneys for “Target 1”
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11
                                                               /s/                     ..
12                                                        Angela Chuang
13                                                        Jodi Linker
                                                          Attorneys for Mr. DePape
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16
17                                       [PROPOSED] ORDER

18          PURSUANT TO STIPULATION, IT IS SO ORDERED. Mr. DePape shall file his

19   opposition to Target 1’s motion to quash on or before October 25, 2023. The Court shall hear

20   argument on the motion on October 26, 2023, at 1 p.m.

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     Dated:__________                                     _________________________
23                                                        Hon. Jacqueline Scott Corley
                                                          United States District Court
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                       STIPULATION AND [PROPOSED] ORDER SHORTENING TIME
                              United States v. DePape, Case No. 3:22-CR-426-JSC
